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 8                       UNITED STATES DISTRIC COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA

10
11   JACOB GUZ, Individually and On
     Behalf of All Others Similarly Situated,   Case No. '22CV1968 AJB BGS
12
13                             Plaintiff,       CLASS ACTION
14                                              COMPLAINT FOR VIOLATIONS
                          v.
15                                              OF THE FEDERAL SECURITIES
     SILVERGATE CAPITAL                         LAWS
16
     CORPORATION, ALAN J. LANE,
17   and ANTONIO MARTINO                        DEMAND FOR JURY TRIAL
18
                               Defendants.
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 1             Plaintiff Jacob Guz (“Plaintiff”), individually and on behalf of all others
 2    similarly situated, by and through his attorneys, alleges the following upon
 3    information and belief, except as to those allegations concerning Plaintiff, which
 4    are alleged upon personal knowledge. Plaintiff’s information and belief is based
 5    upon, among other things, his counsel’s investigation, which includes without
 6    limitation: (a) review and analysis of regulatory filings made by Silvergate Capital
 7    Corporation (“Silvergate” or the “Company”) with the United States (“U.S.”)
 8    Securities and Exchange Commission (“SEC”); (b) review and analysis of press
 9    releases and media reports issued by and disseminated by Silvergate; and (c) review
10    of other publicly available information concerning Silvergate.
11                               NATURE OF THE ACTION
12             1.   This is a class action on behalf of persons and entities that purchased
13    or otherwise acquired Silvergate securities between November 9, 2021 and
14    November 17, 2022, inclusive (the “Class Period”). Plaintiff pursues claims
15    against the Defendants under the Securities Exchange Act of 1934 (the “Exchange
16    Act”).
17             2.   Silvergate is a digital currency company. Its platform, the Silvergate
18    Exchange Network (“SEN”), provides payments, lending, and funding solutions
19    for an expanding class of digital currency companies and investors. Silvergate is
20    also the parent company of Silvergate Bank which provides financial services that
21    include commercial banking, commercial and residential real estate lending,
22    mortgage warehouse lending, and commercial business lending.
23             3.   On November 15, 2022, Marcus Aurelius Research tweeted that
24    “Recently subpoenaed Silvergate bank records reveal $425 million in transfers
25    from $SI crypto bank accounts to South American money launderers. Affadavit
26    from investigation into crypto crime ring linked to smugglers/drug traffickers.”
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 1          4.   On this news, the Company’s Class A common stock price fell $6.13,
 2    or 17%, to close at $29.36 per share on November 15, 2022, on unusually heavy
 3    trading volume.
 4          5.   On November 17, 2022, The Bear Cave newsletter released an article
 5    about several companies with potential exposure to recently collapsed
 6    cryptocurrency exchange FTX, including Silvergate. The article highlighted the
 7    connection linking Silvergate to a money laundering operation that transferred
 8    $425 million off cryptocurrency trading platforms.
 9          6.   On this news, the Company’s Class A common stock price fell $3.00,
10    or 10.7%, to close at $24.90 per share on November 18, 2022, on unusually heavy
11    trading volume.
12          7.   Throughout the Class Period, Defendants made materially false and/or
13    misleading statements, as well as failed to disclose material adverse facts about
14    the Company’s business, operations, and prospects. Specifically, Defendants
15    failed to disclose to investors: (1) that the Company’s platform lacked sufficient
16    controls and procedures to detect instances of money laundering; (2) that
17    Silvergate’s customers had engaged in money laundering in amounts exceeding
18    $425 million; (3) that, as a result of the foregoing, the Company was reasonably
19    likely to receive regulatory scrutiny and face damages, including penalties and
20    reputational harm; and (4) that, as a result of the foregoing, Defendant’s positive
21    statements about the Company’s business, operations, and prospects were
22    materially misleading and/or lacked a reasonable basis.
23                            JURISDICTION AND VENUE
24          8.   The claims asserted herein arise under Sections 10(b) and 20(a) of the
25    Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
26    thereunder by the SEC (17 C.F.R. § 240.10b-5).
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 1             9.   This Court has jurisdiction over the subject matter of this action
 2    pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §
 3    78aa).
 4             10. Venue is proper in this Judicial District pursuant to 28 U.S.C. §
 5    1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial
 6    acts in furtherance of the alleged fraud or the effects of the fraud have occurred in
 7    this
 8             11. Judicial District. Many of the acts charged herein, including the
 9    dissemination of materially false and/or misleading information, occurred in
10    substantial part in this Judicial District. In addition, the Company’s principal
11    executive offices are located in this District.
12                                         PARTIES
13             12. Plaintiff Jacob Guz, as set forth in the accompanying certification,
14    incorporated by reference herein, purchased Silvergate securities during the Class
15    Period, and suffered damages as a result of the federal securities law violations
16    and false and/or misleading statements and/or material omissions alleged herein.
17             13. Defendant Silvergate is incorporated under the laws of Maryland with
18    its principal executive offices located in La Jolla, California. Silvergate’s Class
19    A common stock trade on the New York Stock Exchange (“NYSE”) under the
20    symbol “SI,” and its depository shares, each representing a 1/40th interest in a
21    share of 5.375% fixed rate non-cumulative perpetual preferred stock, Series A
22    trade under the symbol “SI PRA.”
23             14. Defendant Alan J. Lane (“Lane”) was the Company’s Chief Executive
24    Officer (“CEO”) at all relevant times.
25             15. Defendant Antonio Martino (“Martino”) was the Company’s Chief
26    Financial Officer (“CFO”) at all relevant times.
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 1             16. Defendants Lane and Martino (collectively the “Individual
 2       Defendants”), because of their positions with the Company, possessed the power
 3       and authority to control the contents of the Company’s reports to the SEC, press
 4       releases and presentations to securities analysts, money and portfolio managers
 5       and institutional investors, i.e., the market. The Individual Defendants were
 6       provided with copies of the Company’s reports and press releases alleged herein to
 7       be misleading prior to, or shortly after, their issuance and had the ability and
 8       opportunity to prevent their issuance or cause them to be corrected. Because of their
 9       positions and access to material non-public information available to them, the
10       Individual Defendants knew that the adverse facts specified herein had not been
11       disclosed to, and were being concealed from, the public, and that the positive
12       representations which were being made were then materially false and/or
13       misleading. The Individual Defendants are liable for the false statements pleaded
14       herein.
15                              SUBSTANTIVE ALLEGATIONS
16       Background
17             17. Silvergate is a digital currency company. Its platform, the SEN,
18       provides payments, lending, and funding solutions for an expanding class of
19       digital currency companies and investors. Silvergate is also the parent company
20       of Silvergate Bank which provides financial services that include commercial
21       banking, commercial and residential real estate lending, mortgage warehouse
22       lending, and commercial business lending.
23       Materially False and Misleading Statements Issued During the Class Period
24             18. The Class Period begins on November 9, 2021.1 On that day, the
25       Company filed its quarterly report on Form 10-Q for the period ended September
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         Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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 1    30, 2021, stating that “the Company’s disclosure controls and procedures were
 2    effective as of September 30, 2021.”
 3          19. On February 28, 2022, Silvergate filed its Form 10-K with the SEC for
 4    the year ended December 31, 2021 (the “2021 10-K”). The 2021 10-K touted the
 5    platform’s compliance with regulatory requirements, stating “[a]s of December 31,
 6    2021, we had over 300 prospective digital currency customer leads in various stages
 7    of our customer onboarding process and pipeline, which includes extensive
 8    regulatory compliance diligence.”        The 2021 10-K reiterated that “[o]ur
 9    solutions and services are built on our deep-rooted commitment and proprietary
10    approach to regulatory compliance,” and that the Company has developed
11    compliance capabilities, which “include ongoing monitoring of customer
12    activities and evaluating a market participant’s ability to actively monitor the
13    flow of funds of their own customers.”
14          20. The 2021 10-K also stated that the Company has policies to comply
15    with applicable regulations regarding money laundering:
16
           Anti-Terrorism, Money Laundering Legislation and OFAC
17
                                        *      *     *
18         The Bank has established appropriate anti-money laundering and
           customer identification programs. The Bank also maintains records of
19
           cash purchases of negotiable instruments, files reports of certain cash
20         transactions exceeding $10,000 (daily aggregate amount), and reports
           suspicious activity that might signify money laundering, tax evasion, or
21
           other criminal activities pursuant to the Bank Secrecy Act. The Bank
22         otherwise has implemented policies and procedures to comply with the
           foregoing requirements.
23
24                                   *   *     *
           The Bank has implemented policies and procedures to comply with
25         the foregoing requirements.
26
            21. The 2021 10-K contained the following risk related to the Digital
27
      Currency Industry, the ability to use digital currency to engage in illegal
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 1    transactions, and how the Company’s risk management and compliance
 2    framework are meant to combat this risk:
 3         The characteristics of digital currency have been, and may in the
           future continue to be, exploited to facilitate illegal activity such
 4
           as fraud, money laundering, tax evasion and ransomware scams;
 5         if any of our customers do so or are alleged to have done so, it
           could adversely affect us.
 6
 7         Digital currencies and the digital currency industry are relatively new
           and, in many cases, lightly regulated or largely unregulated. Some types
 8         of digital currency have characteristics, such as the speed with which
 9         digital currency transactions can be conducted, the ability to conduct
           transactions without the involvement of regulated intermediaries, the
10         ability to engage in transactions across multiple jurisdictions, the
11         irreversible nature of certain digital currency transactions and
           encryption technology that anonymizes these transactions, that make
12         digital currency particularly susceptible to use in illegal activity such as
13         fraud, money laundering, tax evasion and ransomware scams. Two
           prominent examples of marketplaces that accepted digital currency
14         payments for illegal activities include Silk Road, an online marketplace
15         on the dark web that, among other things, facilitated the sale of illegal
           drugs and forged legal documents using digital currencies and
16         AlphaBay, another darknet market that utilized digital currencies to
17         hide the locations of its servers and identities of its users. Both of these
           marketplaces were investigated and closed by U.S. law enforcement
18         authorities. U.S. regulators, including the SEC, Commodity Futures
19         Trading Commission (the “CFTC”), and Federal Trade Commission
           (the “FTC”), as well as non-U.S. regulators, have taken legal action
20         against persons alleged to be engaged in Ponzi schemes and other
21         fraudulent schemes involving digital currencies. In addition, the
           Federal Bureau of Investigation has noted the increasing use of digital
22         currency in various ransomware scams.
23
           While we believe that our risk management and compliance
24         framework, which includes thorough reviews we conduct as part of
25         our due diligence process (either in connection with onboarding new
           customers or monitoring existing customers), is reasonably designed
26         to detect any such illicit activities conducted by our potential or
27         existing customers (or, in the case of digital currency exchanges, their
           customers), we cannot ensure that we will be able to detect any such
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 1         illegal activity in all instances. Because the speed, irreversibility and
           anonymity of certain digital currency transactions make them more
 2
           difficult to track, fraudulent transactions may be more likely to occur.
 3         We or our banking counterparties may be specifically targeted by
           individuals seeking to conduct fraudulent transfers, and it may be
 4
           difficult or impossible for us to detect and avoid such transactions in
 5         certain circumstances. If one of our customers (or in the case of digital
           currency exchanges, their customers) were to engage in or be accused
 6
           of engaging in illegal activities using digital currency, we could be
 7         subject to various fines and sanctions, including limitations on our
           activities, which could also cause reputational damage and adversely
 8
           affect our business, financial condition and results of operations.
 9
     (First emphasis in original.)
10
             22. The 2021 10-K also contained the following risk factor purporting to
11
      warn that the Company would be at risk of enforcement actions if Silvergate failed
12
      to institute proper anti-money laundering programs:
13
           Financial institutions, such as the Bank, face risks of
14         noncompliance and enforcement actions related to the Bank
15         Secrecy Act and other anti-money laundering statutes and
           regulations (in particular, as such statutes and regulations relate
16         to the digital currency industry).
17
           The Bank Secrecy Act, USA Patriot Act, FinCEN and other laws and
18         regulations require financial institutions, among other duties, to
19         institute and maintain an effective anti-money laundering
           program and file suspicious activity and currency transaction
20         reports as appropriate. To administer the Bank Secrecy Act,
21         FinCEN is authorized to impose significant civil money penalties
           for violations of those requirements and has recently engaged in
22         coordinated enforcement efforts with the individual federal banking
23         regulators, as well as the U.S. Department of Justice, Drug
           Enforcement Administration and the IRS. There is also increased
24         scrutiny of compliance with the sanctions programs and rules
25         administered and enforced by the Treasury Department’s Office of
           Foreign Assets Control.
26
           Our compliance with the anti-money laundering laws is in part
27
           dependent on our ability to adequately screen and monitor our
28         customers for their compliance with these laws. Customers associated

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 1         with our digital currency initiative may represent an increased
           compliance risk given the prevalence of money laundering activities
 2
           using digital currencies. We have developed enhanced procedures to
 3         screen and monitor these customers, which include, but are not
           limited to, system monitoring rules tailored to digital currency
 4
           activities, a system of “red flags” specific to various customer types
 5         and activities, the development of and investment in proprietary
           technology tools to supplement our third-party transaction
 6
           monitoring system, customer risk scoring with risk factors specific to
 7         the digital-currency industry, and the use of various blockchain
           monitoring tools. We believe these enhanced procedures adequately
 8
           screen and monitor our customers associated with the digital
 9         currency initiative for their compliance with anti-money laundering
10         laws; however, given the rapid developments in digital currency
           markets and technologies, there can be no assurance that these
11         enhanced procedures will be adequate to detect or prevent money
12         laundering activity. If regulators determine that our enhanced
           procedures are insufficient to address the financial crimes risks posed
13         by digital currencies, the digital currency initiative may be adversely
14         affected, which could have a material adverse effect on our business,
           financial condition and results of operations.
15
           To comply with regulations, guidelines and examination procedures
16         in this area, we have dedicated significant resources to our anti-
17         money laundering program. If our policies, procedures and systems
           are deemed deficient, we could be subject to liability, including fines
18         and regulatory actions such as restrictions on our ability to pay
19         dividends and the inability to obtain regulatory approvals to proceed
           with certain aspects of our business plans, including acquisitions and
20         de novo branching.
21
             23. The 2021 10-K stated that management determined that “as of
22
      December 31, 2021, the Company maintained effective internal control over
23
      financial reporting . . . .”
24
             24. On May 9, 2022, Silvergate filed its Form 10-Q with the SEC for the
25
      period ended March 31, 2022 (the “1Q22 10-Q”), incorporating by reference the
26
      previously discussed risks discussed in the 2021 10-K. The 1Q22 10-Q also
27
      reaffirmed statements from the 2021 10-K touting the Company’s platform’s
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  1    compliance with regulatory requirements, stating “[a]s of March 31, 2022, we had
  2    over 300 prospective digital currency customer leads in various stages of our
  3    customer onboarding process and pipeline, which includes extensive regulatory
  4    compliance diligence.”
  5          25. The 1Q22 10-Q stated that there were no changes to the Company’s
  6    internal control over financial reporting and affirmed that “the Company’s
  7    disclosure controls and procedures were effective as of March 31, 2022.”
  8          26. On August 8, 2022, the Company filed its Form 10-Q with the SEC
  9    for the period ended June 30, 2022 (the “2Q22 10-Q”), incorporating by reference
 10    the previously discussed risks discussed in the 2021 10-K.
 11          27. The 2Q22 10-Q also reaffirmed statements from the 2021 10-K
 12    touting the Company’s platform’s compliance with regulatory requirements,
 13    stating “[a]s of June 30, 2022, we had over 300 prospective digital currency
 14    customer leads in various stages of our customer onboarding process and pipeline,
 15    which includes extensive regulatory compliance diligence.”
 16          28. The 2Q22 10-Q reaffirmed that there were no changes to the
 17    Company’s internal control over financial reporting and that “the Company’s
 18    disclosure controls and procedures were effective as of June 30, 2022.”
 19          29. On November 1, 2022, Silvergate held an investor presentation, which
 20    was filed as Exhibit 99.1 to a Form 8-K filed with the SEC the same day. It stated
 21    the following about compliance and risk management.
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 10          30. On November 7, 2022, Silvergate filed its Form 10-Q with the SEC
 11    for the period ended September 30, 2022 (the “3Q22 10-Q”), incorporating by
 12    reference the previously discussed risks discussed in the 2021 10-K. The 3Q22
 13    10-Q also reaffirmed statements from the 2021 10-K touting the Company’s
 14    platform’s compliance with regulatory requirements, stating “[a]s of September
 15    30, 2022, we had over 300 prospective digital currency customer leads in various
 16    stages of our customer onboarding process and pipeline, which includes extensive
 17    regulatory compliance diligence.”
 18          31. The 3Q22 10-Q reaffirmed that there were no changes to the
 19    Company’s internal control over financial reporting and that “the Company’s
 20    disclosure controls and procedures were effective as of September 30, 2022.”
 21          32. On November 16, 2022, Silvergate issued a press release providing,
 22    among other things, a mid-quarter update. The press release stated:
 23         “Silvergate’s platform, including our risk management and compliance
            infrastructure, was built to support our clients during times of market
 24
            volatility and transformation,” said Alan Lane, CEO of Silvergate.
 25
             33. The above statements identified in ¶¶ 18-32 were materially false
 26
       and/or misleading, and failed to disclose material adverse facts about the
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       Company’s business, operations, and prospects. Specifically, Defendants failed
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  1    to disclose to investors: (1) that the Company’s platform lacked sufficient controls
  2    and procedures to detect instances of money laundering; (2) that Silvergate’s
  3    customers had engaged in money laundering in amounts exceeding $425 million;
  4    (3) that, as a result of the foregoing, the Company was reasonably likely to receive
  5    regulatory scrutiny and face damages, including penalties and reputational harm
  6    and (4) that, as a result of the foregoing, Defendant’s positive statements about
  7    the Company’s business, operations, and prospects were materially misleading
  8    and/or lacked a reasonable basis.
  9                     Disclosures at the End of the Class Period
 10          34. On November 15, 2022, Marcus Aurelius Research tweeted that
 11    “Recently subpoenaed Silvergate bank records reveal $425 million in transfers
 12    from $SI crypto bank accounts to South American money launderers. Affadavit
 13    from investigation into crypto crime ring linked to smugglers/drug traffickers.”
 14    The tweet contained a link to an August 2022 forfeiture application for probable
 15    cause filed in Broward County, Florida. The forfeiture application connected
 16    Silvergate to a money laundering operation and stated, in relevant part:
 17         In June 2022, your Affiant subpoenaed bank account records for
            multiple digital cryptocurrency trading platforms held at Silvergate
 18
            Bank. The records for those accounts held in the name of OSL Digital
 19         LTD, OSL SG PTE LTD, Paxos Global PTE LTD, and Paxos Trust
            Company LLC. In these records were the wire transfer payment details
 20
            from the various operating accounts which represented the funds being
 21         transferred off the respective cryptocurrency platforms and into the
            US financial system.
 22
 23               Your Affiant examined the records produced by Silvergate Bank
            found the following:
 24
            (i)   During the period of September 2021 to June 2022 ten
 25
                  companies had transferred a total of over $425 million
 26               dollars off these cryptocurrency trading platforms into
 27               accounts held at different US banks.

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  1         (ii) The accounts of these ten companies were receiving funds in the
                 same pattern as those previously identified and seized (discussed
  2
                 above) by the MLTF for being used to facilitate the laundering of
  3              illicit funds
  4         (iii) In addition to the transaction pattern of these ten companies being
  5               consistent with those previously identified as being used to
                  facilitate money laundering, your Affiant noted that the transaction
  6               patterns of these ten companies were not consistent with the
  7               transaction patterns of thousands of other persons and businesses
                  using the same digital cryptocurrency trading platforms contained
  8               in the same records
  9
             35. On this news, the Company’s Class A common stock price fell $6.13,
 10
       or 17%, to close at $29.36 per share on November 15, 2022, on unusually heavy
 11
       trading volume.
 12
             36. On November 17, 2022, The Bear Cave newsletter released an article
 13
       about several companies with potential exposures to recently collapsed
 14
       cryptocurrency exchange FTX, including Silvergate. In addition to the money
 15
       laundering operation linked to Silvergate that transferred $425 million off
 16
       cryptocurrency trading platforms, it drew attention to potential violations of
 17
       Silvergate’s anti-nepotism policy:
 18
            In February 2022, Silvergate, which has ~$13 billion in deposits, boasted
 19         that its exchange network “recently crossed $1 trillion in cumulative
 20         payment volumes [and] is integral to the everyday operations of our
            digital currency customers.”
 21
            Last week, Silvergate replaced its Chief Risk Officer with its Chief
 22         Operating Officer. The former Chief Risk Officer was Tyler Pearson.
 23         Mr. Pearson is the son-in-law of Silvergate’s CEO Alan Lane.
            Silvergate’s Bank Manager of Correspondent Banking is Jason Brenier.
 24         Mr. Brenier is also the son-in-law of Silvergate’s CEO Alan Lane. And
 25         Silvergate’s Chief Technology Officer, Chris Lane, is the son of Alan
            Lane. In its most recent proxy filing, Silvergate said the employments
 26         were in compliance with its “Anti-Nepotism Policy.”
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  1          37. On this news, the Company’s Class A common stock price fell $3.00,
  2    or 10.7%, to close at $24.90 per share on November 18, 2022, on unusually heavy
  3    trading volume.
  4                          CLASS ACTION ALLEGATIONS
  5          38.   Plaintiff brings this action as a class action pursuant to Federal Rule
  6    of Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons
  7    and entities that purchased or otherwise acquired Silvergate securities between
  8    November 9, 2021 and November 17, 2022, inclusive, and who were damaged
  9    thereby (the “Class”). Excluded from the Class are Defendants, the officers and
 10    directors of the Company, at all relevant times, members of their immediate
 11    families and their legal representatives, heirs, successors, or assigns, and any
 12    entity in which Defendants have or had a controlling interest.
 13          39. The members of the Class are so numerous that joinder of all members
 14    is impracticable. Throughout the Class Period, Silvergate’s shares actively traded
 15    on the NYSE. While the exact number of Class members is unknown to Plaintiff
 16    at this time and can only be ascertained through appropriate discovery, Plaintiff
 17    believes that there are at least hundreds or thousands of members in the proposed
 18    Class. Millions of Silvergate shares were traded publicly during the Class Period
 19    on the NYSE. Record owners and other members of the Class may be identified
 20    from records maintained by Silvergate or its transfer agent and may be notified of
 21    the pendency of this action by mail, using the form of notice similar to that
 22    customarily used in securities class actions.
 23          40. Plaintiff’s claims are typical of the claims of the members of the Class
 24    as all members of the Class are similarly affected by Defendants’ wrongful
 25    conduct in violation of federal law that is complained of herein.
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  1           41. Plaintiff will fairly and adequately protect the interests of the members
  2    of the Class and has retained counsel competent and experienced in class and
  3    securities litigation.
  4           42. Common questions of law and fact exist as to all members of the Class
  5    and predominate over any questions solely affecting individual members of the
  6    Class. Among the questions of law and fact common to the Class are:
  7         a)      whether the federal securities laws were violated by Defendants’
                    acts as alleged herein;
  8
  9         b)      whether statements made by Defendants to the investing public
                    during the Class Period omitted and/or misrepresented material
 10                 facts about the business, operations, and prospects of Silvergate;
 11                 and
 12         c)      to what extent the members of the Class have sustained damages
                    and the proper measure of damages.
 13
 14           43.      A class action is superior to all other available methods for the fair
 15    and efficient adjudication of this controversy since joinder of all members is
 16    impracticable.     Furthermore, as the damages suffered by individual Class
 17    members may be relatively small, the expense and burden of individual litigation
 18    makes it impossible for members of the Class to individually redress the wrongs
 19    done to them. There will be no difficulty in the management of this action as a
 20    class action.
 21                             UNDISCLOSED ADVERSE FACTS

 22           43.   The market for Silvergate’s securities was open, well-developed and
 23    efficient at all relevant times.     As a result of these materially false and/or
 24    misleading statements, and/or failures to disclose, Silvergate’s securities traded at
 25    artificially inflated prices during the Class Period. Plaintiff and other members of
 26    the Class purchased or otherwise acquired Silvergate’s securities relying upon the
 27    integrity of the market price of the Company’s securities and market information
 28    relating to Silvergate, and have been damaged thereby.

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  1          44. During the Class Period, Defendants materially misled the investing
  2    public, thereby inflating the price of Silvergate’s securities, by publicly issuing
  3    false and/or misleading statements and/or omitting to disclose material facts
  4    necessary to make Defendants’ statements, as set forth herein, not false and/or
  5    misleading.       The statements and omissions were materially false and/or
  6    misleading because they failed to disclose material adverse information and/or
  7    misrepresented the truth about Silvergate’s business, operations, and prospects as
  8    alleged herein.
  9          45. At all relevant times, the material misrepresentations and omissions
 10    particularized in this Complaint directly or proximately caused or were a substantial
 11    contributing cause of the damages sustained by Plaintiff and other members of the
 12    Class. As described herein, during the Class Period, Defendants made or caused to
 13    be made a series of materially false and/or misleading statements about Silvergate’s
 14    financial well-being and prospects. These material misstatements and/or omissions
 15    had the cause and effect of creating in the market an unrealistically positive
 16    assessment of the Company and its financial well-being and prospects, thus causing
 17    the Company’s securities to be overvalued and artificially inflated at all relevant
 18    times. Defendants’ materially false and/or misleading statements during the Class
 19    Period resulted in Plaintiff and other members of the Class purchasing the
 20    Company’s securities at artificially inflated prices, thus causing the damages
 21    complained of herein when the truth was revealed.
 22                                  LOSS CAUSATION
 23          46.     Defendants’ wrongful conduct, as alleged herein, directly and
 24    proximately caused the economic loss suffered by Plaintiff and the Class.
 25          47. During the Class Period, Plaintiff and the Class purchased Silvergate’s
 26    securities at artificially inflated prices and were damaged thereby. The price of
 27    the Company’s securities significantly declined when the misrepresentations
 28
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  1    made to the market, and/or the information alleged herein to have been concealed
  2    from the market, and/or the effects thereof, were revealed, causing investors’
  3    losses.
  4                              SCIENTER ALLEGATIONS
  5          48. As alleged herein, Defendants acted with scienter since Defendants
  6    knew that the public documents and statements issued or disseminated in the name
  7    of the Company were materially false and/or misleading; knew that such
  8    statements or documents would be issued or disseminated to the investing public;
  9    and knowingly and substantially participated or acquiesced in the issuance or
 10    dissemination of such statements or documents as primary violations of the
 11    federal securities laws. As set forth elsewhere herein in detail, the Individual
 12    Defendants, by virtue of their receipt of information reflecting the true facts
 13    regarding Silvergate, their control over, and/or receipt and/or modification of
 14    Silvergate’s allegedly materially misleading misstatements and/or their
 15    associations with the Company which made them privy to confidential proprietary
 16    information concerning Silvergate, participated in the fraudulent scheme alleged
 17    herein.
 18              APPLICABILITY OF PRESUMPTION OF RELIANCE
 19                     (FRAUD-ON-THE-MARKET DOCTRINE)
 20          49. The market for Silvergate’s securities was open, well-developed and
 21    efficient at all relevant times. As a result of the materially false and/or misleading
 22    statements and/or failures to disclose, Silvergate’s securities traded at artificially
 23    inflated prices during the Class Period. On November 19, 2021, the Company’s
 24    share price closed at a Class Period high of $219.75 per share. Plaintiff and other
 25    members of the Class purchased or otherwise acquired the Company’s securities
 26    relying upon the integrity of the market price of Silvergate’s securities and market
 27    information relating to Silvergate, and have been damaged thereby.
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  1          50. During the Class Period, the artificial inflation of Silvergate’s shares
  2    was caused by the material misrepresentations and/or omissions particularized in
  3    this Complaint causing the damages sustained by Plaintiff and other members of
  4    the Class. As described herein, during the Class Period, Defendants made or
  5    caused to be made a series of materially false and/or misleading statements about
  6    Silvergate’s business, prospects, and operations. These material misstatements
  7    and/or omissions created an unrealistically positive assessment of Silvergate and
  8    its business, operations, and prospects, thus causing the price of the Company’s
  9    securities to be artificially inflated at all relevant times, and when disclosed,
 10    negatively affected the value of the Company shares. Defendants’ materially false
 11    and/or misleading statements during the Class Period resulted in Plaintiff and other
 12    members of the Class purchasing the Company’s securities at such artificially
 13    inflated prices, and each of them has been damaged as a result.
 14          51. At all relevant times, the market for Silvergate’s securities was an
 15    efficient market for the following reasons, among others:
 16         a)    Silvergate shares met the requirements for listing, and was listed
                  and actively traded on the NYSE, a highly efficient and
 17
                  automated market;
 18
            b)    As a regulated issuer, Silvergate filed periodic public reports
 19               with the SEC and/or the NYSE;
 20
            c)    Silvergate regularly communicated with public investors via
 21               established market communication mechanisms, including
                  through regular dissemination of press releases on the national
 22
                  circuits of major newswire services and through other wide-
 23               ranging public disclosures, such as communications with the
                  financial press and other similar reporting services; and/or
 24
 25         d)    Silvergate was followed by securities analysts employed by
                  brokerage firms who wrote reports about the Company, and these
 26               reports were distributed to the sales force and certain customers
 27               of their respective brokerage firms. Each of these reports was
                  publicly available and entered the public marketplace.
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  1          52. As a result of the foregoing, the market for Silvergate’s securities
  2    promptly digested current information regarding Silvergate from all publicly
  3    available sources and reflected such information in Silvergate’s share price.
  4    Under these circumstances, all purchasers of Silvergate’s securities during the
  5    Class Period suffered similar injury through their purchase of Silvergate’s
  6    securities at artificially inflated prices and a presumption of reliance applies.
  7          53. A Class-wide presumption of reliance is also appropriate in this action
  8    under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United
  9    States, 406 U.S. 128 (1972), because the Class’s claims are, in large part,
 10    grounded on Defendants’ material misstatements and/or omissions. Because this
 11    action involves Defendants’ failure to disclose material adverse information
 12    regarding the Company’s business operations and financial prospects—
 13    information that Defendants were obligated to disclose—positive proof of
 14    reliance is not a prerequisite to recovery. All that is necessary is that the facts
 15    withheld be material in the sense that a reasonable investor might have considered
 16    them important in making investment decisions. Given the importance of the
 17    Class Period material misstatements and omissions set forth above, that
 18    requirement is satisfied here.
 19                                     NO SAFE HARBOR
 20          54. The statutory safe harbor provided for forward-looking statements
 21    under certain circumstances does not apply to any of the allegedly false statements
 22    pleaded in this Complaint. The statements alleged to be false and misleading
 23    herein all relate to then-existing facts and conditions. In addition, to the extent
 24    certain statements alleged to be false may be characterized as forward looking,
 25    they were not identified as “forward-looking statements” when made and there
 26    were no meaningful cautionary statements identifying important factors that could
 27    cause actual results to differ materially from those in the purportedly forward-
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  1    looking statements. In the alternative, to the extent that the statutory safe harbor
  2    is determined to apply to any forward-looking statements pleaded herein,
  3    Defendants are liable for those false forward-looking statements because at the
  4    time each of those forward-looking statements was made, the speaker had actual
  5    knowledge that the forward-looking statement was materially false or misleading,
  6    and/or the forward-looking statement was authorized or approved by an executive
  7    officer of Silvergate who knew that the statement was false when made.
  8                                      FIRST CLAIM
  9   Violation of Section 10(b) of The Exchange Act and Rule 10b-5 Promulgated
                           Thereunder Against All Defendants
 10
             55. Plaintiff repeats and re-alleges each and every allegation contained
 11
       above as if fully set forth herein.
 12
             56. During the Class Period, Defendants carried out a plan, scheme and
 13
       course of conduct which was intended to and, throughout the Class Period, did:
 14
       (i) deceive the investing public, including Plaintiff and other Class members, as
 15
       alleged herein; and (ii) cause Plaintiff and other members of the Class to purchase
 16
       Silvergate’s securities at artificially inflated prices.   In furtherance of this
 17
       unlawful scheme, plan and course of conduct, Defendants, and each defendant,
 18
       took the actions set forth herein.
 19
             57. Defendants (i) employed devices, schemes, and artifices to defraud;
 20
       (ii) made untrue statements of material fact and/or omitted to state material facts
 21
       necessary to make the statements not misleading; and (iii) engaged in acts,
 22
       practices, and a course of business which operated as a fraud and deceit upon the
 23
       purchasers of the Company’s securities in an effort to maintain artificially high
 24
       market prices for Silvergate’s securities in violation of Section 10(b) of the
 25
       Exchange Act and Rule 10b-5. All Defendants are sued either as primary
 26
       participants in the wrongful and illegal conduct charged herein or as controlling
 27
       persons as alleged below.
 28
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  1          58. Defendants, individually and in concert, directly and indirectly, by the
  2    use, means or instrumentalities of interstate commerce and/or of the mails,
  3    engaged and participated in a continuous course of conduct to conceal adverse
  4    material information about Silvergate’s financial well-being and prospects, as
  5    specified herein.
  6          59. Defendants employed devices, schemes and artifices to defraud, while
  7    in possession of material adverse non-public information and engaged in acts,
  8    practices, and a course of conduct as alleged herein in an effort to assure investors
  9    of Silvergate’s value and performance and continued substantial growth, which
 10    included the making of, or the participation in the making of, untrue statements
 11    of material facts and/or omitting to state material facts necessary in order to make
 12    the statements made about Silvergate and its business, operations, and future
 13    prospects in light of the circumstances under which they were made, not
 14    misleading, as set forth more particularly herein, and engaged in transactions,
 15    practices and a course of business which operated as a fraud and deceit upon the
 16    purchasers of the Company’s securities during the Class Period.
 17          60. Each of the Individual Defendants’ primary liability and controlling
 18    person liability arises from the following facts: (i) the Individual Defendants were
 19    high-level executives and/or directors at the Company during the Class Period and
 20    members of the Company’s management team or had control thereof; (ii) each of
 21    these defendants, by virtue of their responsibilities and activities as a senior officer
 22    and/or director of the Company, was privy to and participated in the creation,
 23    development and reporting of the Company’s internal budgets, plans, projections
 24    and/or reports; (iii) each of these defendants enjoyed significant personal contact
 25    and familiarity with the other defendants and was advised of, and had access to,
 26    other members of the Company’s management team, internal reports and other
 27    data and information about the Company’s finances, operations, and sales at all
 28
                                                 20
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  1    relevant times; and (iv) each of these defendants was aware of the Company’s
  2    dissemination of information to the investing public which they knew and/or
  3    recklessly disregarded was materially false and misleading.
  4          61. Defendants had actual knowledge of the misrepresentations and/or
  5    omissions of material facts set forth herein, or acted with reckless disregard for
  6    the truth in that they failed to ascertain and to disclose such facts, even though
  7    such facts were available to them. Such defendants’ material misrepresentations
  8    and/or omissions were done knowingly or recklessly and for the purpose and
  9    effect of concealing Silvergate’s financial well-being and prospects from the
 10    investing public and supporting the artificially inflated price of its securities. As
 11    demonstrated by Defendants’ overstatements and/or misstatements of the
 12    Company’s business, operations, financial well-being, and prospects throughout
 13    the Class Period, Defendants, if they did not have actual knowledge of the
 14    misrepresentations and/or omissions alleged, were reckless in failing to obtain
 15    such knowledge by deliberately refraining from taking those steps necessary to
 16    discover whether those statements were false or misleading.
 17          62. As a result of the dissemination of the materially false and/or
 18    misleading information and/or failure to disclose material facts, as set forth above,
 19    the market price of Silvergate’s securities was artificially inflated during the Class
 20    Period. In ignorance of the fact that market prices of the Company’s securities
 21    were artificially inflated, and relying directly or indirectly on the false and
 22    misleading statements made by Defendants, or upon the integrity of the market in
 23    which the securities trades, and/or in the absence of material adverse information
 24    that was known to or recklessly disregarded by Defendants, but not disclosed in
 25    public statements by Defendants during the Class Period, Plaintiff and the other
 26    members of the Class acquired Silvergate’s securities during the Class Period at
 27    artificially high prices and were damaged thereby.
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  1          63. At the time of said misrepresentations and/or omissions, Plaintiff and
  2    other members of the Class were ignorant of their falsity, and believed them to be
  3    true. Had Plaintiff and the other members of the Class and the marketplace known
  4    the truth regarding the problems that Silvergate was experiencing, which were not
  5    disclosed by Defendants, Plaintiff and other members of the Class would not have
  6    purchased or otherwise acquired their Silvergate securities, or, if they had
  7    acquired such securities during the Class Period, they would not have done so at
  8    the artificially inflated prices which they paid.
  9          64. By virtue of the foregoing, Defendants violated Section 10(b) of the
 10    Exchange Act and Rule 10b-5 promulgated thereunder.
 11          65. As a direct and proximate result of Defendants’ wrongful conduct,
 12    Plaintiff and the other members of the Class suffered damages in connection with
 13    their respective purchases and sales of the Company’s securities during the Class
 14    Period.
 15                                    SECOND CLAIM
 16                    Violation of Section 20(a) of The Exchange Act
                            Against the Individual Defendants
 17
             66. Plaintiff repeats and re-alleges each and every allegation contained
 18
       above as if fully set forth herein.
 19
             67. Individual Defendants acted as controlling persons of Silvergate
 20
       within the meaning of Section 20(a) of the Exchange Act as alleged herein. By
 21
       virtue of their high-level positions and their ownership and contractual rights,
 22
       participation in, and/or awareness of the Company’s operations and intimate
 23
       knowledge of the false financial statements filed by the Company with the SEC
 24
       and disseminated to the investing public, Individual Defendants had the power to
 25
       influence and control and did influence and control, directly or indirectly, the
 26
       decision-making of the Company, including the content and dissemination of the
 27
       various statements which Plaintiff contends are false and misleading. Individual
 28
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  1    Defendants were provided with or had unlimited access to copies of the
  2    Company’s reports, press releases, public filings, and other statements alleged by
  3    Plaintiff to be misleading prior to and/or shortly after these statements were issued
  4    and had the ability to prevent the issuance of the statements or cause the
  5    statements to be corrected.
  6          68. In particular, Individual Defendants had direct and supervisory
  7    involvement in the day-to-day operations of the Company and, therefore, had the
  8    power to control or influence the particular transactions giving rise to the
  9    securities violations as alleged herein, and exercised the same.
 10          69. As set forth above, Silvergate and Individual Defendants each violated
 11    Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this
 12    Complaint.     By virtue of their position as controlling persons, Individual
 13    Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct
 14    and proximate result of Defendants’ wrongful conduct, Plaintiff and other
 15    members of the Class suffered damages in connection with their purchases of the
 16    Company’s securities during the Class Period.
 17                                  PRAYER FOR RELIEF
 18         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 19          A.     Determining that this action is a proper class action under Rule 23 of
 20    the Federal Rules of Civil Procedure;
 21          B.     Awarding compensatory damages in favor of Plaintiff and the other
 22    Class members against all defendants, jointly and severally, for all damages
 23    sustained as a result of Defendants’ wrongdoing, in an amount to be proven at
 24    trial, including interest thereon;
 25          C.     Awarding Plaintiff and the Class their reasonable costs and expenses
 26    incurred in this action, including counsel fees and expert fees; and
 27          D.     Such other and further relief as the Court may deem just and proper.
 28
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  1                             JURY TRIAL DEMANDED
  2          Plaintiff hereby demands a trial by jury.
  3
  4   Dated: December 13, 2022
                                            POMERANTZ LLP
  5
  6                                         /s/ Jennifer Pafiti
                                            Jennifer Pafiti (SBN 282790)
  7                                         1100 Glendon Avenue, 15th Floor
  8                                         Los Angeles, California 90024
                                            Telephone: (310) 405-7190
  9                                         jpafiti@pomlaw.com
 10
                                            POMERANTZ LLP
 11                                         Jeremy A. Lieberman
 12                                         (pro hac vice application forthcoming)
                                            J. Alexander Hood II
 13                                         (pro hac vice application forthcoming)
 14                                         600 Third Avenue
                                            New York, New York 10016
 15                                         Telephone: (212) 661-1100
 16                                         Facsimile: (917) 463-1044
                                            jalieberman@pomlaw.com
 17                                         ahood@pomlaw.com
 18
                                            GROSSMAN LLP
 19                                         Stanley M. Grossman
 20                                         (pro hac vice application forthcoming)
                                            Judd B. Grossman
 21                                         (pro hac vice application forthcoming)
 22                                         745 Fifth Avenue, 5th Floor
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 23                                         Telephone: (646) 770-7445
 24                                         Facsimile: (646) 417-7997
                                            sgrossman@grossmanllp.com
 25                                         jgrossman@grossmanllp.com
 26
                                            Attorneys for Plaintiff
 27
 28
                                              24
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                                   CERTIFICATION PURSUANT
                                 TO FEDERAL SECURITIES LAWS


           I.      I, Jacob Guz, make this declaration pursuant to Section 27(a)(2) of the Securities      t
   Act of 1933 (''Securities Act") and/or Section 21 D(a)(2) of the Securities Exchange Act of 1934

   ("Exchange Act") as amended by the Private Securities Litigation Reform Act of 1995.

           2.      I have reviewed a Complaint against Silvergate Capital Corporation ("Silvergate")       .;


   and authorize the filing of a comparable complaint on my behalf.

          3.       I did not purchase or acquire Silvergate securities at the direction of plaintiffs'

   counsel or in order to participate in any private action arising under the Securities Act or Exchange

   Act.

          4.       I am willing to serve as a representative party on behalf of a Class of investors who

   purchased or otherwise acquired Silvergate securities during the class period , including providing

   testimony at deposition and trial, if necessary. I understand that the Court has the authority to

   select the most adequate lead plaintiff in this action.

          5.      TI1e attached sheet lists all of my transactions in Silvergate securities during the

   Class Period as specified in the Complaint.

          6.      During the three-year period preceding the date on which this Certification is

   signed, I have not served or sought to serve as a representative party on behalf of a class undcrthe

   federal securities laws.

          7.      I agree not to accept any payment for serving as a representative party on behalf of

   the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

   reasonable costs and expenses directly relating to the representation of the class as ordered or

   approved by the Court.
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            8.      I declare under penalty of perjwy under the laws of the United States of America

     that the foregoing is true and correct.




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 Silvergate Capital Corporation (SI)                                                                 Jacob Guz

                                            List of Purchases and Sales

      Transaction              Security                                   Number of      Price Per
         Type                   Type          Date                        Shares/Unit   Share/Unit

        Purchase            Common Stock     5/9/2022                         200       $92.7500
        Purchase            Common Stock    5/10/2022                         200       $85.7500
        Purchase            Common Stock    5/11/2022                         200       $77.0000
        Purchase            Common Stock    5/12/2022                         200       $60.0000
        Purchase            Common Stock    5/16/2022                         200       $70.0000
        Purchase            Common Stock    7/22/2022                         100       $86.7500
        Purchase            Common Stock     8/9/2022                        1,000      $99.6500
        Purchase            Common Stock    8/17/2022                        1,000      $99.0000
        Purchase            Common Stock    10/21/2022                       1,000      $52.3000
        Purchase            Common Stock    11/7/2022                        1,000      $51.0000
          Sale              Common Stock    7/18/2022                       (1,000)     $70.2500
          Sale              Common Stock    7/28/2022                       (1,000)     $91.2500
          Sale              Common Stock    8/10/2022                        (100)      $104.0000
          Sale              Common Stock    10/21/2022                      (1,000)      $54.0000

        Purchase            C 20220916 85    9/1/2022                         10         $5.5000
          Sale              C 20220916 85    9/2/2022                        (10)        $8.2000
